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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ISAAC MIKE ABERGEL,

                          Plaintiff,
                                                                 19-CV-6337
                   -against-
                                                  ORDER GRANTING IFP APPLICATION
 JUUL LABS, INC.,

                          Defendant.

COLLEEN McMAHON, Chief United States District Judge:

       Leave to proceed in this Court without prepayment of fees is authorized. See 28 U.S.C.

§ 1915.

SO ORDERED.

 Dated:   July 19, 2019
          New York, New York

                                                        COLLEEN McMAHON
                                                    Chief United States District Judge
